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EXHIBITS TO PLAINTIFFS’ REPLY IN SUPPORT OF THEIR PARTIAL MOTION FOR
                         SUMMARY JUDGMENT



  Exhibit
    1       Excerpts of Deposition of Angela Barnard, Rule 30(b)(6) designee
    2       Expert Report of Nancy Alisburg, sworn
    3       Excerpts of Deposition of Naeem Kayani, Rule 30(b)(6) designee
    4       Sworn Answer of WinnResidential
    5       Email receipt of the updated certificate, Plaintiffs’ counsel
            provided an email attachment on February 6, 2019
    6       Email and letter summarizing parties’ Rule 37 discovery
            conference
    7       Email attaching conservatorship certificate
    8       Declaration of Salmun Kazerounian, attaching as Ex. A excerpts of
            the transcript of CHRO hearing
    9       Email from WinnResidential regional manager to CoreLogic
            account executive
    10      RPS response to WinnResidential RFP
    11      Excerpts of Deposition of Robert Thomas
